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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-106V
                                    Filed: October 27, 2017
                                        UNPUBLISHED


    MARCIA MILLER,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Guillain-
                                                             Barre Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Randall G. Knutson, Knutson & Casey Law Firm, Mankato, MN, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On January 23, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleged that she developed Guillain-Barré Syndrome (“GBS”)
resulting from the influenza vaccine she received on September 29, 2015. Petition at 1,
¶¶ 4, 17-18. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

       On July 28, 2017, respondent filed his Rule 4(c) Report stating that he “does not
contest entitlement in this matter.” Respondent’s Rule 4(c) Report at 1. The same day,
a ruling on entitlement was issued, finding petitioner entitled to compensation. On
October 27, 2017, respondent filed a proffer on award of compensation (“Proffer”)
indicating petitioner should be awarded $160,000.00 for past and future pain and
suffering and $500.00 for past unreimbursed medical expenses for a total award of
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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$160,500.00. Proffer at 1. In the Proffer, respondent represented that petitioner agrees
with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $160,500.00 in the form of a check payable to
petitioner, Marcia Miller. This total amount of damages represents $160,000.00
for past and future pain and suffering and $500.00 for past unreimbursed medical
expenses. This amount represents compensation for all damages that would be
available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

*************************************
MARCIA MILLER,                      *
                                    *
                  Petitioner,       *                          No. 17-106V
                                    *                          CHIEF SPECIAL MASTER
v.                                  *                          NORA BETH DORSEY
                                    *
SECRETARY OF HEALTH AND             *
HUMAN SERVICES,                     *
                                    *
                  Respondent.       *
*************************************

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Items of Compensation

          The Court issued a Ruling on Entitlement on July 28, 2017. Based upon the evidence of

record, respondent proffers that petitioner should be awarded compensation as follows:

$160,000.00, for past and future pain and suffering, and $500.00 for past unreimbursed medical

expenses. These amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a).1 Petitioner agrees.

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment of $160,500.00, in the form of a check payable to petitioner. Petitioner

agrees.




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       Should petitioner die prior to the entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
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                                          Respectfully submitted,

                                          CHAD A. READLER
                                          Acting Assistant Attorney General

                                          C. SALVATORE D’ALESSIO
                                          Acting Director
                                          Torts Branch, Civil Division

                                          CATHARINE E. REEVES
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          ALEXIS B. BABCOCK
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          /s/ DEBRA A. FILTEAU BEGLEY
                                          DEBRA A. FILTEAU BEGLEY
                                          Trial Attorney
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Dated: October 27, 2017




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